Case 4:17-cr-00076-MSD-LRL Document 33 Filed 05/01/18 Page 1 of 2 PageID# 197
                                                                                       V-
                                                                                                   FILED

                                                                                                 MAY - 1 20
                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA                             CLERK, U.S. DISTRICTCOU RT
                                                                                                  NORFOLK. VA
                                  Newport News Division


 UNITED STATES OF AMERICA,



V.                                                      Criminal Case No.                   4:17cr76


 ELMER EMMANUEL EYCHANER,              III,


                 Defendant.




                                               ORDER


         This    matter     is   before       the    Court    on    a   Motion        for         Bill    of

 Particulars           filed      by     Defendant           Elmer       Emmanuel                Eychaner

 ("Defendant"          or "Eychaner").          ECF No.       23.       Having reviewed and

 considered the parties' positions regarding the need for further

 clarity        regarding      Counts    One    and     Two    of       the    Indictment,               the

 Court    agrees       with Defendant         that    the     Indictment         currently does

 not    give     him    enough     information         to    avoid       unfair        surprise           at

 trial,        and   therefore     GRANTS      Defendant's          Motion       for        a    Bill     of

 Particulars.           The     Government      is    therefore         DIRECTED            to     file    a


 Bill     of     Particulars       by     Friday,       May     4,       2018,     listing               the

 following:

         (1)    For Count One,         the website or websites that are alleged

         to     have     been     visited       in     violation          of     18             U.S.C.     §

         2252(a)(4)(B).
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